UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
AMANDA MAZELLA,
individually and on behalf of others similarly
situated,

                                   Plaintiff,
                  -against-                                              20 CIVIL 5235 (NSR)

                                                                           JUDGMENT
THE COCA-COLA COMPANY

                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated July 12, 2021, Defendant’s Motion to Dismiss is

GRANTED. Plaintiff’s claims against The Coca-Cola company are dismissed; accordingly, the

case is closed.




Dated: New York, New York

          July 13, 2021


                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
